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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Canvasfish.com, LLC,
a Montana Limited Liability Company,

       Plaintiff,                                     Case No.: 1:21-cv-03676
                                                      Hon. Virginia M. Kendall
               v.

JOHN DOES 1-XX,

      Defendants.
________________________________________________________________

         PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A TEMPORARY
         RESTRAINING ORDER,



       Plaintiff Canvasfish.com, LLC (“Plaintiff” or “Canvas”) seeks entry of an ex parte

temporary restraining order,




                                                                      A Memorandum of Law

in Support is filed concurrently with this Motion.



Respectfully submitted,
                                                     Canvasfish.com, LLC

Date: August 03, 2021
                                                     /s/ Amanda Osorio
                                                     Amanda Osorio
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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

CANVASFISH.COM, LLC,
a Montana Limited Liability Company,

       Plaintiff,                                       Case No.: 1:21-cv-3676

               v.                                       Hon. Virginia M. Kendall

JOHN DOES 1-XX,

     Defendants.
_________________________________________________________________________________

  MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF
  A TEMPORARY RESTRAINING ORDER,



        Plaintiff Canvasfish.com, LLC (“Plaintiff” or “Canvasfish”) submits this Memorandum in

support of its Ex Parte Motion for Entry of a Temporary Restraining Order (“TRO”),




                    I.    INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiff requests temporary ex parte relief based on an action for trademark infringement,

counterfeiting, false designation of origin, and copyright infringement

                                                  (collectively the “Defendants”). As alleged in

Canvasfish’s Complaint,




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        A. Standard for Temporary Restraining Order and Preliminary Inunction

        District Courts within this Circuit hold that the standard for granting a TRO and the standard

for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust v. Charter

One Fin., Inc., No. 2001 WL 527404, at *1 (N.D. Ill. May 15, 2001) (citation omitted). A party

seeking to obtain a preliminary injunction must demonstrate: (1) that its case has some likelihood of

success on the merits; (2) that no adequate remedy at law exists; and (3) that it will suffer irreparable

harm if the injunction is not granted. See Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th

Cir. 2001).

        If the Court is satisfied that these three conditions have been met, then it must consider the

harm that the nonmoving party will suffer if preliminary relief is granted, balancing such harm against


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the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the Court must

consider the potential effect on the public interest (non-parties) in denying or granting the injunction

Id. The Court then weighs all of these factors, “sitting as would a chancellor in equity,” when it

decides whether to grant the injunction. Id. (quoting Abbott Labs v. Mead Johnson & Co., 971 F.2d

6, 11 (7th Cir. 1992)). This process involves engaging in what the Court has referred to as “the sliding

scale approach” – the more likely the plaintiff will succeed on the merits, the less the balance of harms

need to favor the plaintiff’s position. Id.

        B. Canvasfish Will Likely Succeed on the Merits




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        ii.




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         C. There Is No Adequate Remedy at Law and Canvasfish Will Suffer Irreparable
            Harm in the Absence of Preliminary Relief

         The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly & Co. v.

Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir.2000)). Likewise, an injury to a copyright holder

that is “not easily measurable in monetary terms, such as injury to reputation or goodwill, is often

viewed as irreparable.” EnVerve, Inc. v. Unger Meat Co., 779 F. Supp. 2d 840, 844 (N.D. Ill. 2011).

Irreparable injury “almost inevitably follows” when there is a high probability of confusion because

such injury “may not be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church &

Dwight Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and

irreparable harm attributable to trademark infringement is the inability of the victim to control the

nature          and           quality          of          the          defendants’           goods.”

Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1092 (7th Cir. 1988). As such,

monetary damages are likely to be inadequate compensation for such harm. Ideal Indus., Inc. v.

Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th Cir. 1979).




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        D. The Balancing of Harms Tips in Canvasfish’s Favor and the Public Interest Is
           Served by Entry of the Injunction

        As noted above, if the Court is satisfied that Canvasfish has adequately demonstrated (1)

a likelihood of success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable

harm if preliminary relief is not granted, then it must next consider the harm that Defendants will suffer

if preliminary relief is granted, balancing such harm against the irreparable harm that Canvasfish will

suffer if relief is denied. Ty, Inc., 237 F.3d at 895.




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                V.     A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

       The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789

(8th Cir. 1989). Because of the strong and unequivocal nature of Canvasfish’s evidence

                                                                      Canvasfish respectfully requests

that this Court require Canvasfish to post a bond of no more than ten thousand U.S. dollars ($10,000.00)

at such time the Court re-opens for in-person civil proceedings. See, e.g., Deckers Outdoor Corp. v.

The Partnerships, et al. No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished) (referencing the

appropriate nature of the $10,000 bond).


                                       VI.     CONCLUSION




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                                                                             Canvasfish respectfully

requests that this Court enter a Temporary Restraining Order in the form submitted herewith.

Respectfully submitted,

Date: August 03, 2021                         Canvasfish.com, LLC

                                              /s/Amanda Osorio
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